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 8                         UNITED STATES DISTRICT COURT
 9                        EASTERN DISTRICT OF CALIFORNIA
10
11
                                              )   No. 2:16-cv-01148-MCE-CKD
12
     KYLE JOHNSON, individually and on        )
13   behalf of all others similarly situated, )   ORDER OF DISMISSAL
                                              )
14                                Plaintiff,  )   [FRCP RULE 12(b)(6)) &
15                                            )   FRCP RULE 41(b)]
             vs.                              )
16                                            )   Assigned to Hon. Morrison C.
     PLURALSIGHT, LLC, a Nevada limited )         England, Jr., Courtroom 7, Fourteenth
17
     liability company; and DOES 1-10,        )   Floor
18   inclusive,                               )
                                              )
19                                Defendants. )
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     ORDER OF DISMISSAL                              No. 2:16-CV-01148−MCE−CKD
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 1
                                   ORDER OF DISMISSAL
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            On 2/17/17, the Court granted defendant Pluralsight, LLC’s, Motion to
 3
     Dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6). As stated in the
 4
     order, the complaint in this matter had two causes of action: (1) violation of
 5
     California’s Automatic Purchase Renewals Statute (“CAPRS”), codified at
 6
     California Business and Professions Code §§ 17600–176061; and (2) violation of
 7
     California’s Unfair Competition Law (“UCL”), §§ 17200–17204. The Court’s order
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     on the motion states as follows:
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                    Defendants’ Motion to Dismiss (ECF No. 5) is
10                  GRANTED and Plaintiff’s First Cause of Action,
                    brought directly under California’s Automatic
11                  Purchase Renewals Statute, is DISMISSED with
                    prejudice. Plaintiff’s Second Cause of Action, brought
12                  under the California’s Unfair Competition Law, is also
                    DISMISSED, but with leave to amend. Not later than
13                  twenty (20) days following the date this Order is
                    electronically filed, Plaintiff may (but is not required
14                  to) file an amended complaint. If no amended
                    complaint is filed, the causes of action dismissed by
15                  virtue of this order will be deemed DISMISSED with
                    prejudice upon no further notice to the parties.
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     [Order, Docket Document 12, Filed 2/17/17, page 11:10-16.]
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     An amended filing, per the Court’s order, was due no later than March 9, 2017. No
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     amended pleading was timely filed. Pursuant to the Court’s prior Order, the
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     Complaint is hereby DISMISSED with prejudice.
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            IT IS SO ORDERED.
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     Dated: April 18, 2017
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     ORDER OF DISMISSAL                                             No. 2:16-CV-01148−MCE−CKD
